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                         LEVIN-EPSTEIN & ASSOCIATES, P.C.
_____________________________________________________________________________________________
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                                                                                        August 14, 2024
VIA ECF
The Hon. Cheryl L. Pollak, U.S.M.J.
U.S. District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                                Re:      Brooks v. Tapper
                                         Case No.: 1:24-cv-00263-ARR-CLP

Dear Honorable Magistrate Judge Pollak:

       This law firm represents Plaintiff Fredricka Brooks (the “Plaintiff”) in the above-referenced
matter.

        Pursuant to Your Honor’s Individual Motion Practice Rules, and the directives in Your
Honor’s August 8, 2024 Order, the instant letter respectfully serves to provide the Court with a
status update in the above-referenced action.

       The instant letter further respectfully serves to request an extension of time to, through and
including, September 6, 2024, to serve Individual Defendant Karen Tapper (the “Individual
Defendant”).

       On February 2, 2024, Plaintiff’s process servers advised the undersigned that they
attempted to serve the Individual Defendant at her last known business address, located at 4901
Fillmore Ave., Brooklyn NY 11234. Despite Plaintiff’s process servers efforts, service was
unsuccessful.

      The undersigned has since located the whereabouts of the Individual Defendant’s last
known residential address.

        Additional time is needed for Plaintiff’s process servers to affect service on the Individual
Defendant, at her last known residential address. Plaintiff’s process servers anticipate being in a
position to complete service, on or before September 6, 2024.

       In light of the foregoing, Plaintiff respectfully requests an extension of time to, through
and including, September 6, 2024, to serve the Individual Defendant.
       Thank you, in advance, for your time and attention to this matter.




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                                          Respectfully submitted,
                                           LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                           By: /s/ Jason Mizrahi
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